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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,                             Case No. 1:21-cr-10023-BCB

              Plaintiff,

vs.                                               UNITED STATES OF AMERICA'S
                                                   MOTION FOR ISSUANCE OF
JOHN KILGALLON, DANIEL C.                          SUBPOENAS DUCES TECUM
MOSTELLER and STEPHEN                               PURSUANT TO RULE 17(c)
HOUGHTALING,

              Defendants.



       The United States of America, by and through Special Prosecutors Thomas G.

Fritz and Cassidy M. Stalley, respectfully moves this Court to enter an Order directing

that a subpoena duces tecum be issued to Verizon Wireless (“Verizon”) pursuant to

Federal Rule of Criminal Procedure 17(c), and that Verizon be required to provide the

responsive documents and things prior to trial, in order to allow the parties sufficient time

to review the information and prepare for trial. The grounds for this Motion, includin g

the subpoena to be issued, are set forth below.

                                     BACKGROUND

       On June 15, 2021, the above-named Defendants were charged with two counts of

criminal contempt under 18 U.S.C. §§ 401(1) and 401(3). The charge is based on these

Defendants directing, in concert and in conspiracy, a deputy marshal to remove prisoners

from the federal courthouse without the permission of – or even first communicating with
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– the district court, and in violation of each of the prisoner’s scheduling order . The

conduct of these Defendants thereby obstructed the administration of justice. The

charging statute, 18 U.S.C. § 401, provides

       A court of the United States shall have power to punish by fine or
       imprisonment, or both, at its discretion, such contempt of its authority, and
       none other, as—

       (1) Misbehavior of any person in its presence or so near thereto as to
       obstruct the administration of justice;

       (2) Misbehavior of any of its officers in their official transactions;

       (3) Disobedience or resistance to its lawful writ, process, order, rule,
       decree, or command.

       On June 29, 2021, the Honorable Charles B. Kornmann appointed the undersigned

attorney, Thomas G. Fritz, as special prosecutor under Federal Rule of Criminal

Procedure 42(a)(2), to represent the United States and vindicate the court’s authority.

       Consequently, the United States, through this Special Prosecutor now moves this

Court to issue a subpoena duces tecum directing Verizon to produce the following

documents and things pursuant to Rule 17(c):

       1.     A list or report of incoming and outgoing calls, call detail, text
              messages, picture detail, and internet sessions for cellular telephone
              numbers issued to defendants, from March 25, 2021 to May 11,
              2021, including the times of usage initiated and duration of use ,
              specifically related to conversations among and between the
              Defendants, deputy marshal Kinney, the District Court of South
              Dakota and its personnel, and/or USMS Headquarters regarding
              COVID policies and vaccination and USMS policies.

       As detailed below, this information is relevant, admissible, and requested with

specificity. This Special Prosecutor is unable to procure the materials from any other



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source. This is no fishing expedition. Rather, this Special Prosecutor seeks specific

information in Verizon’s possession that contains conversations relevant to the offenses

charged.

                                      ARGUMENT

I.     Legal Standard for Issuance of Rule 17(c) Subpoenas

       Rule 17 of the Federal Rules of Criminal Procedure governs the issuance of

subpoenas in criminal cases. Subsection (c) provides for pre-trial production of evidence,

in relevant part:

       A subpoena may order the witness to produce any books, papers,
       documents, data, or other objects the subpoena designates. The court may
       direct the witness to produce the designated items in court before trial or
       before they are to be offered in evidence. When the items arrive, the court
       may permit the parties and their attorneys to inspect all or part of them.

Fed. R. Crim. P. 17(c)(1).

       In United States v. Nixon, the Supreme Court set forth the standards for issuing a

Rule 17(c) subpoena. 418 U.S. 683, 699-700 (1974). Adopting the test devised by Judge

Weinfeld in United States v. Iozia, the Supreme Court held that pre-trial production of

evidence is appropriate where the moving party shows:

       (1) that the documents are evidentiary and relevant; (2) that they are not
       otherwise procurable reasonably in advance of trial by exercise of due
       diligence; (3) that the party cannot properly prepare for trial without such
       production and inspection in advance of trial and that the failure to obtain
       such inspection may tend unreasonably to delay the trial; and (4) that the
       application is made in good faith and is not intended as a general ‘fishing
       expedition.’




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Id. (citing United States v. Iozia, 13 F.R.D. 335, 338 (SDNY 1952)). The Nixon Court

further distilled this test to three factors: (1) relevancy; (2) admissibility; (3) s pecificity.

Id. at 700.

       In applying the Nixon test, the United States District Court, District of South

Dakota has explained:

       A party requesting production before trial must also show that the
       information is “not otherwise procurable reasonably in advance of trial by
       exercise of due diligence,” that “the party cannot properly prepare for trial
       without such production,” and that “the application is made in good faith
       and is not intended as a general fishing expedition.”

United States v. Blue, 340 F. Supp. 3d 862, 869–70 (D.S.D. 2018) (quoting Nixon, 418

U.S. at 699-70) (citation cleaned up). The District Court of South Dakota, as well as the

Eighth Circuit, have applied the Nixon test to subpoenas to third parties under Rule 17(c).

Id. (citing to United States v. Bradford, 806 F.3d 1151, 1155 (8th Cir. 2015); United

States v. Hang, 75 F.3d 1275, 1283 (8th Cir. 1996).

       It is well-settled that Rule 17(c) is not to be used as a broad discovery tool. See,

e.g., id. at 700-01; Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951); United

States v. Blue, 340 F. Supp. 3d 862, 869 (D.S.D. 2018). Rather Rule 17(c) was designed

“to expedite the trial by providing a time and place before trial for the inspection of

subpoenaed materials.” Nixon, 418 U.S. at 698-99 (emphasis added); see also Blue, 340

F. Supp at 869. Moreover, “the purpose of a subpoena duces tecum is to enable a party to

obtain evidence at the trial to use in support of his case—not to pry into the case of his

adversary.” United States v. Jannuzzio, 22 F.R.D. 223, 228 (D. Del. 1958).




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         Furthermore, the decision whether to issue a Rule 17(c) subpoena and require the

documents be produced pre-trial rests with the sound discretion of the district court.

Nixon, 418 U.S. at 702; United Sates v. Beckford, 964 F. Supp. 1010, 1021 n.9 (E.D. Va.

1997).

         Here, the United States is seeking to obtain relevant and admissible evidence for

use in support of its case – not to pry into the case of Defendants. Jannuzzio, 22 F.R.D.

at 228. It is not going on a fishing expedition. The conversations are relevant and

admissible. The information cannot be obtained in any other manner and is necessary for

the United States’ preparation for trial.

II.      Relevancy

         Evidence is relevant if “it has any tendency to make a fact more or less probable

than it would be without the evidence.” Fed. R. Evid. 401(a). That “fact” must also be

“of consequence in determining the action.” Fed. R. Evid. 401(b). Under the Nixon test,

there must be a “sufficient likelihood” that the requested material is “relevant to the

offenses charged.” Nixon 418 U.S. at 700. The documents sought here are relevant

because they go directly to the charge of criminal contempt.

         Indeed, as this Court is well-aware, to convict Defendants under both §§ 401(1)

and 401(3), the United States must establish beyond a reasonable doubt that Defendants

acted with criminal intent. See U.S. ex rel. Shell Oil Co. v. Barco Corp., 430 F.2d 998,

1001 n.5 (8th Cir. 1970) (stating that criminal intent is an essential element of criminal

contempt). A defendant acts with criminal intent when he acts willfully. See Wright v.

Nichols, 80 F.3d 1248, 1251 (8th Cir. 1996) (affirming conviction for criminal contempt


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because the evidence showed that the defendant acted willfully); United States v. Dowdy,

960 F.2d 78, 81 (8th Cir. 1992) (same). Willfulness means “a deliberate or intended

violation, as distinguished from an accidental, inadvertent, or negligent violation of any

order.” In re Medlock, 406 F.3d 1066, 1071–72 (8th Cir. 2005).

          Defendants here have consistently maintained that there is no evidence that they

acted with criminal intent as they were merely complying “with Executive Branch orders

from USMS Headquarters” when Defendants directed the removal of the prisoners from

the federal courthouse without the district court’s permission – let alone, knowledge.

(See Filing 46 at 38; see also Filing 46 at 30). Defendants further assert that once Judge

Kornmann asked the deputy marshal to leave the courtroom, “USMS Headquarters

instructed its officers in the District of South Dakota to temporarily remove the prisoners

in USMS custody from the Aberdeen courthouse and transport them to the nearest

appropriate jail facility so that the situation could be sorted out.” ( Id. at 16). Defendants

also claim that Defendant Houghtaling called the district court “shortly after 2:00 p.m.”

“seeking to advise and confer with the Court.” (Id. at 16). Finally, Defendants claim

they “believed they had no choice but to follow orders from USMS Headquarters.” ( Id.

at 30).

          Yet Defendants were asked on March 25, 2021, to advise of their vaccination

status. (See Filing 1-1). Defendants were communicating with the district court from

March 25, 2021, up and through, May 10, 2021, about the USMS’s position. (See Filings

1-2, 1-6, 1-9. Most notably, on May 4, 2021, Defendant Mosteller wrote to Judge

Kornmann explaining that he had been “advised by the Aberdeen CSO staff that during a


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recent phone conversation you stated that no unvaccinated CSO or attorney will be

allowed in your courtroom” and inquired whether “such a restriction [would] apply[] to

USMS personnel[.]” (See Filing 49-1). The district court unequivocally responded that

the district court was not going to permit unvaccinated individuals, specifically including

USMS, to be present in the courtroom or chambers. (See Filing 49-1).

       To be sure then, the documents requested from Verizon “contain conversations” or

information “relevant to the offenses charged[.]” Nixon, 418 U.S. at 700 (citation

omitted). The United States does not have to “establish relevance beyond all doubt.”

Blue, 340 F.Supp.3d at 870 (citing Nixon, 418 U.S. at 700). The documents are clearly

relevant to establishing criminal contempt and cannot be obtained in any other manner.

The United States has met the relevancy requirement.

III.   Admissibility

       Generally, relevant evidence is admissible unless other rules of evidence, the

Constitution, federal statute, or rulings by the Supreme Court require ex clusion.

Fed. R. Evid. 402. Under Nixon, there must be a “sufficient preliminary showing” that

the requested material “contains evidence admissible with respect to the offenses

charged.” Nixon 418 U.S. at 700.

       The documents and things requested here are most certainly “admissible,” as they

are highly relevant and material to the offense charged. The Constitution, nor any rule of

evidence, statute, or ruling by the Supreme Court require exclusion. See Nixon, 418 U.S.

at 700-02 (finding recorded conversations of the defendant admissible). Moreover, the

documents requested by the subpoena are not subject to the law enforcement privilege, as


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the disclosure of these materials requested by the subpoena would not unduly interfere

with ongoing investigations. See United States v. Marshall, No. CR. 08-50079-02, 2010

WL 1409445, at *4 (D.S.D. Apr. 1, 2010); United States v. Two Bank Accounts

Described as: Bank Account in the Amount of $197,524.99, Bank of Am., Seattle, Wash. ,

No. CIV. 06-4005, 2007 WL 108392, at *3 (D.S.D. Jan. 5, 2007).

IV.      Specificity

         A party's “request will usually be sufficiently specific where it limits documents to

a reasonable period of time and states with reasonable precision the subjects to which the

documents relate.” United States v. Shanahan, 252 F.R.D. 536, 540 (E.D. Mo. 2008).

         Here, the United States’ request is “sufficiently specific” as it limits documents to

a reasonable period of time. More specifically, the request is limited to the time period of

March 25, 2021, to May 11, 2021. This timeframe spans the period of time starting with

the district court issuing a memorandum to employees at the Aberdeen federal courthouse

regarding their vaccination status on March 25, 2021 (Filing 1 -1), through May 11, 2021,

the day after Defendants ordered the deputy marshal to remove the criminal defendants

from the federal courthouse. The request further states “with reasonable precision the

subjects to which the documents relate.” Shanahan, 252 F.R.D. at 540. Indeed, the

request asks only for a “list or report of incoming and outgoing calls, call detail, text

messages, picture detail, and internet sessions” from Defendants’ phone numbers,1


1 For purposes of this motion, and for confidentiality reasons, the United States has not listed Defendants’ phone
numbers. However, the United States can provide the same, with respect to Defendants Mosteller’s and
Houghtaling’s cell-phone numbers. The United States does not have Defendant Kilgallon’s cell-phone number. If
this motion is granted, the United States would further request that Defendant Kilgallon provide his cell-phone
number to the Court to be added to the subpoena .


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related to conversations among and between Defendants, deputy marshal Kinney, the

District Court of South Dakota and its personnel, and/or “USMS Headquarters” regarding

COVID policies and vaccination and USMS policies, during this limited timeframe. To

be clear, the United States is not seeking to obtain highly sensitive law enforcement

information or materials, only information relevant to th e offenses charged. The United

States’ request is more than just the title of the document and conjecture about its

contents. See United States v. Hardy, 224 F.3d 752, 755 (8th Cir. 2000). The United

States is not fishing to see what may turn up. The United States has met the specificity

requirement.

                                      CONCLUSION

       For the foregoing reasons, the United States requests that th is Court enter

an order pursuant to Rule 17(c) directing that a subpoena duces tecum be issued to

Verizon to produce the following documents and things:

       A list or report of incoming and outgoing calls, call detail, text messages,
       picture detail, and internet sessions for cellular telephone numbers issued to
       defendants, from March 25, 2021 to May 11, 2021, including the times of
       usage initiated and duration of use, specifically related to conversations
       among and between the defendants, deputy marshal Kinn ey, the District
       Court of South Dakota and its personnel, and/or USMS Headquarters
       regarding COVID policies and vaccination and USMS policies.

The Order should further direct that Verizon provide the responsive documents and

things to the Special Prosecutor before trial and with sufficient time for the Special

Prosecutor to review and analyze them.

       In the alternative, the Special Prosecutor would request that the materials be

provided to the Court for in camera review prior to production to the Special Prosecutor.


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It would be wholly inappropriate to allow the “government” to be the initial gatekeeper,

reviewing and selecting what material from Verizon would be provided to the Special

Prosecutor, as suggested by Department of Justice lawyers. (See Filing 55).

      Compliance with this subpoena is not unreasonable or oppressive. The United

States has met its burden under Nixon.

      Dated October 5, 2021.

                                         LYNN, JACKSON, SHULTZ & LEBRUN, P.C.


                                         By: /s/ Cassidy M. Stalley
                                             Thomas G. Fritz
                                             Cassidy M. Stalley
                                             Special Prosecutor for the United States of
                                             America
                                             909 St. Joseph Street, Suite 800
                                             Rapid City, SD 57701-3301
                                             605-342-2592
                                             tfritz@lynnjackson.com
                                             cstalley@lynnjackson.com




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                              CERTIFICATE OF SERVICE

      I hereby certify that on October 5, 2021, I sent to:

Mr. Ronald A. Parsons, Jr.                    Mr. Scott A. Abdallah
Johnson, Janklow, Abdallah & Reiter, LLP      Johnson, Janklow, Abdallah & Reiter LLP
PO Box 2348                                   PO Box 2348
Sioux Falls, SD 57101-2348                    Sioux Falls, SD 57101-2348
ron@janklowabdallah.com                       scott@janklowabdallah.com

Mr. Joshua E. Gardner                         Mr. Marty J. Jackley
U.S. Department of Justice                    Gunderson, Palmer, Nelson & Ashmore, LLP
Federal Programs Branch                       111 W. Capitol Avenue, Suite 230
1100 L. Street NW, Room 11502                 Pierre, SD 57501
Washington, DC 20530                          mjackley@gpna.com
joshua.e.gardner@usdoj.gov


by Notice of Electronic Filing generated by the CM/ECF system, a true and correct copy
of United States of America's Motion for Issuance of Subpoenas Duces Tecum
Pursuant to Rule 17(c) relative to the above-entitled matter.


                                           /s/ Cassidy M. Stalley
                                           Cassidy M. Stalley




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